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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MARISSA CARTER, EVELYN GRYS, BRUCE
CURRIER, SHARON KONING, SUE BEEHLER,
MARSHA MANCUSO, and JACLYN
CUTHBERTSON, as individuals and as representatives
of the classes,

                                 Plaintiffs,

         v.                                                   Civil No. 6:14-CV-06275-FPG


CIOX HEALTH, LLC f/k/a HEALTHPORT
TECHNOLOGIES, LLC, THE ROCHESTER
GENERAL HOSPITAL, THE UNITY HOSPITAL OF
ROCHESTER, and F.F. THOMPSON HOSPITAL,
INC.,

                                 Defendants.


           NOTICE OF MOTION FOR A PROTECTIVE ORDER AND TO QUASH

Nature of Action:                New York Public Health Law § 18.

Moving Party:                    Defendant CIOX Health, LLC.

Schedule:                        To be set by the Court.

Place:                           In the courtroom of the Honorable Marian W. Payson,
                                 United States Courthouse, 100 State Street, Rochester, New
                                 York 14614.

Supporting Papers:               Declaration of Jodyann Galvin, dated March 2, 2018, with
                                 attached Exhibits A through L; Declaration of Gregory
                                 Trerotola, dated March 2, 2018, with attached Exhibit A;
                                 Declaration of Lori Reel, dated February 22, 2018;
                                 Memorandum of Law in Support of Defendant CIOX Health
                                 LLC’s Motion for a Protective Order and to Quash, dated
                                 March 2, 2018.

Answering Papers:                Absent an Order setting deadlines, pursuant to Local Rule
                                 7(b)(2)(B), opposing papers must be served within fourteen
                                 (14) days after the service of this motion. Defendant CIOX
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                                     intends to file and serve a reply, which will be served within
                                     seven (7) days after service of opposing papers.

Relief Requested:                    A protective order: (1) directing that plaintiffs take the
                                     deposition of CIOX expert Gregory Trerotola in the
                                     ordinary course of expert discovery after expert disclosure is
                                     made and in accordance with case deadlines — not during
                                     fact discovery; and (2) barring the deposition of Lori Reel,
                                     CIOX’s Chief Accounting Officer.

Grounds for Relief:                  Federal Rule of Civil Procedure 26(c), 45(d)(3).

Oral Argument:                       Requested.

Date: March 2, 2018
                                            HODGSON RUSS LLP
                                            Attorneys for CIOX Health, LLC


                                            By      s/Jodyann Galvin
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